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EXHIBIT A
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 2 of 16

ICE”

Unsecured Creditors' Committee of Auburn Invoice 499356 Page 1
Foundry, Inc. October 7, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

LEGAL & BUSINESS ADVISORS

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0004
Committee Meetings & Discussions
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

09/01/04 Update communications with Committee (.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00
09/09/04 Communications with Committee Chair regarding upcoming

hearings (.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 0.40 355.00 142.00

TOTAL 0.40 355.00 142.00
TOTAL Fees for Professional Services ...... 0... . eee ccc ee ee cece ee euece $ 142.00
TOTAL DUE FOR THIS MATTER 2.1... 0... cece cece cet ee eee eee ete e enn eeeeeaee $ 142.00
PLEASE REMIT TOTAL INVOICE BALANCE DUE ......... 0. cc cee cece cence ev eceeueee $ 142.00

ACCOUNTS ARE DUE UPON RECEIPT

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Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 3 of 16

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Committee Meetings & Discussions
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0004
INVOICE #: 499356
PLEASE REMIT TOTAL INVOICE BALANCE DUE .......... ce cece ccc cece ee ececeeeee $ 142.00

ACCOUNTS ARE DUE UPON RECEIPT
Unsecured Creditors' Committee of Auburn Invoice 499357
October 7,

Foundry,

Inc.

Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 4 of 16
SF

LEGAL & BUSINESS ADVISORS

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

09/01/04

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09/03/04

09/07/04

09/08/04

09/10/04

09/13/04

09/14/04

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FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0005
Case Administration
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

Communications with attorneys for Debtor and bank

regarding need for consultant, and communications with

KPMG regarding same (.6).

H. Efroymson .60 hrs. 355.00/hr

Reviewed proposal from Western Reserve on valuation, and
forwarded to Committee (.3).
H. Efroymson .30 hrs. 355.00/hr

Reviewed Order from Court on request to use cash

collateral (.1); reviewed Notice of Hearing on request to
employ KPMG, and dated up (.2).

H. Efroymson .30 hrs. 355.00/hr

Telephone calls from attorneys for Debtors regarding
continuance of Disclosure Statement hearing, and reviewed
related documents (.4); communications with Committee
regarding same (.1).

H. Efroymson .50 hrs. 355.00/hr

Reviewed Motion to Extend Time on Disclosure Statement
filed with Court, and communicated with Committee

regarding same (.2); telephone conferences with attorney
for Debtor and KPMG regarding engagement (.2); telephone
conference with Fillipell regarding potential engagement
for valuation (.2).

H. Efroymson .60 hrs. 355.00/hr

Attention submission of statements to Court and attorneys
for Debtor and banks (.2); telephone conference with KPMG
regarding engagement, and communications with attorneys
for Debtor and banks regarding same (.3).

H. Efroymson .50 hrs. 355.00/hr
Reviewed Order Continuing Adequate Protection Hearing

(.1).

H. Efroymson .10 hrs. 355.00/hr

Reviewed Notice of Submission of Invoices and Certificate
of Service for electronic filing (.2).

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Washington, D.C.

Page 1

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Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 5 of 16

Unsecured Creditors! Co. ittee of Auburn Invoice 499357 Page 2
Foundry, Inc.
M. Wilson .20 hrs. 195.00/hr § 39.00
09/14/04 Telephone call from Dauber Company regarding claim and
status of case (.2); reviewed Motion filed by Debtor to
reschedule hearing on NMHG lease (.1); telephone
conference with attorney for Debtor regarding Wednesday
hearings and KPMG employment (.3).
H. Efroymson .60 hrs. 355.00/hr $ 213.00
09/16/04 Communications with KPMG regarding carve-out for services
(.2); reviewed Notices from Court, and dated up (.1).
H. Efroymson -30 hrs. 355.00/hr $ 106.50
09/17/04 Communications with KPMG regarding transfer of business to
Mesirow and need to amend employment and order (.2);
telephone call from Committee regarding same (.1);
telephone call from Kendallville Iron & Metal regarding
status of case and claim (.2); assisted with preparation
of report to Official Creditors’ Committee (.2).
H. Efroymson .70 hrs. 355.00/hr $ 248.50
09/20/04 Reviewed and signed off on letter from KPMG (.2).
H. Efroymson .20 hrs. 355.00/hr § 71.00
09/21/04 Reviewed Order from Court on extension of exclusivity, and
reported to Committee on same (.2); communications with
attorney for Debtor regarding status of case (.2).
H. Efroymson .40 hrs. 355.00/hr §$ 142.00
09/24/04 Reviewed Court's entry on NMHG Motion (.1); communications
with attorney for Debtor regarding not received operating
reports (.2); telephone call from attorney for Debtor
regarding terms of new Plan (.2); telephone call from
attorney for union (.2).
H. Efroymson .70 hrs. 355.00/hr § 248.50
09/29/04 Reviewed Court Order on KPMG engagement (.1).
H. Efroymson 10 hrs. 355.00/hr $ 35.50
Summary of Fees
Hours Rate/Hr Dollars
H. Efroymson 5.90 355.00 2,094.50
M. Wilson 0.20 195.00 39.00
TOTAL 6.10 349.75 2,133.50
TOTAL Fees for Professional SETrviCGS 2... ce ce ee eee ee ee ee eee $ 2,133.50
TOTAL DUE FOR THIS MATTER 2.2... - ec ce ee eee ee eee $ 2,133.50
PLEASE REMIT TOTAL INVOICE BALANCE DUB 2... . ee ee ee et ee ee ne $ 2,133.50
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 6 of 16

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Case Administration
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0005
INVOICE #: 499357
PLEASE REMIT TOTAL INVOICE BALANCE DUE ..... Lee eee e nce eee baeeeeeeteees $ 2,133.50

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 7 of 16

LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 4

Foundry,

Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

09/15/04

09/20/04

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0006
Claims Administration & Objections
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

Attention to Court's denial of continuance on NMHG lease,
and NMHG withdrawal of request to assume or reject (.2);
telephone conference with attorney for Debtor regarding
hearings today (.2); reviewed report on hearings (.2).

99358

H. Efroymson .60 hrs. 355.00/hr §
Telephone call from Kendallville Iron and Metal regarding
claim (.2).
H. Efroymson .20 hrs. 355.00/hr §$
Summary of Fees
Hours Rate/Hr Dollars
H. Efroymson 0.80 355.00 284.00
TOTAL 0.80 355.00 284.00
TOTAL Fees for Professional Services ....... 0.0. c cece eee cece nee e ence $
TOTAL DUE FOR THIS MATTER 2... ec cee et ee eee ee eee eee ee ee ee eeae $
PLEASE REMIT TOTAL INVOICE BALANCE DUE ........ cc eee ee ec ee tee ee ae $

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Chicago |

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Page 1

October 7, 2004

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284.00

284.00

284.00
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 8 of 16

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Claims Administration & Objections
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0006
INVOICE #: 499358
PLEASE REMIT TOTAL INVOICE BALANCE DUE ........... cc cece cece eee ecececeeee $ 284.00

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 9 of 16

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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice

Foundry,

Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

09/09/04

09/13/04

09/15/04

09/17/04

09/24/04

TOTAL Fees for Professional Services

TOTAL DUE FOR THIS MATTER

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Indianapolis | Chicago

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0008
Fee/Employment Applications
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

499359 Page 1
October 7, 2004

Reviewed Fee Statements filed by attorneys for Debtors
(.2).
H. Efroymson .20 hrs. 355.00/hr § 71.00
Prepared Fee Application, Notice and Order (.5).
H. Efroymson -50 hrs. 355.00/hr § 177.50
Completed preparation of Fee Application, and arranged for
submittal (.3).
H. Efroymson -30 hrs. 355.00/hr § 106.50
Reviewed Notice on Fee Application, and attention to
Certificate of Service (.2).
H. Efroymson -20 hrs. 355.00/hr § 71.00
Reviewed Court docket on Application to Employ KPMG (.1).
H. Efroymson -10 hrs. 355.00/hr §$ 35.50
Summary of Fees
Hours Rate/Hr Dollars
H. Efroymson 1.30 355.00 461.50
TOTAL 1.30 355.00 461.50
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.-$ 461.50

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SUBMIT REMITTANCE TO:

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CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Ine.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Fee/Employment Applications
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0008
INVOICE #: 499359
PLEASE REMIT TOTAL INVOICE BALANCE DUE ........... ec eee cee cee cece eeeeeee § 461.50

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 11 of 16
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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 499360 Page 1
Foundry, Inc. October 7, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0010
Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

09/01/04 Reviewed Joint Motion to Approve Extension of Cash
Collateral Use, with exhibit (.3).
H. Efroymson 30 hrs. 355.00/hr § 106.50

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 0.30 355.00 106.50

TOTAL 0.30 355.00 106.50
TOTAL Fees for Professional ServicEéS 1.2... ccc ee ee ee ee ee ees $ 106.50
TOTAL DUE FOR THIS MATTER ....... ce ewe ee ee ee we ee te tee ee eee eens $ 106.50
PLEASE REMIT TOTAL INVOICE BALANCE DUE .... 2... cee cee ee eee nee $ 106.50

ACCOUNTS ARE DUE UPON RECEIPT

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Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0010

INVOICE #: 499360

PLEASE REMIT TOTAL INVOICE BALANCE DUE ... 2... eee eee ee ee ee ee ens

ACCOUNTS ARE DUE UPON RECEIPT

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Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 13 of 16
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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 499361 Page 1
Foundry, Inc. October 7, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0011
Plan & Disclosure Statement
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

09/01/04 Worked on Objection to Disclosure Statement (.8).

H. Efroymson .80 hrs. 355.00/hr $ 284.00
09/08/04 Prepared response to extension motion for filing with

Court (.5).

H. Efroymson .50 hrs. 355.00/hr § 177.50
09/10/04 Reviewed Motion and Order from Court on continuance of

hearing, and dated up (.2).

H. Efroymson .20 hrs. 355.00/hr $ 71.00
09/16/04 Attention to objections to Disclosure Statement (.4).

H. Efroymson .40 hrs. 355.00/hr § 142.00

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 1.90 355.00 674.50

TOTAL 1.90 355.00 674.50
TOTAL Fees for Professional SeErviCEeS 2... ce eee eee eee $ 674.50
TOTAL DUE FOR THIS MATTER 2.1... .. cee ee ee ee te ee ee eee ee ee ee ee $ 674.50
PLRASR REMIT TOTAL INVOICE BALANCE DUE 2... wee eee eee ee ee ene $ 674.50

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ICE MILLER

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Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME:

Doc 498-1 Filed 01/12/05 Page 14 of 16

REMITTANCE PAGE

Unsecured Creditors' Committee of Auburn Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street

Indianapolis,

MATTER TITLE:

MATTER #: 21926.0011

INVOICE #: 499361

PLEASE REMIT TOTAL INVOICE BALANCE DUE

IN 46203

Plan & Disclosure Statement
Auburn Foundry,

Inc. Chapter 11 Bankruptcy Case

ACCOUNTS ARE DUE UPON RECEIPT

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Case 04-10427-reg Doc 498-1 Filed 01/12/05 Page 15 of 16

LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 499362 Page 1

Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH September 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0015

Costs
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

ITEMIZED CHARGES:

09/13/04 E108 Postage Expense $ 2
09/15/04 E108 Postage Expense $ 4
09/20/04 E108 Postage Expense $ 3
09/20/04 E108 Postage Expense $ 11
Long Distance $ 6
Photocopies s 83
TOTAL Itemized Charges 1.0... cc tee eee eee ees $ 110.
TOTAL DUE FOR THIS MATTER 1... 0 ccc cece cee eee cece cence eee een eeas $ 110.
PLEASE REMIT TOTAL INVOICE BALANCE DUE ..... ccc ce ce ee et eee ee ene $ 110

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October 7, 2004

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SUBMIT REMITTANCE TO:

ICE MILLER

P.0. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME:

Doc 498-1 Filed 01/12/05 Page 16 of 16

REMITTANCE PAGE

Unsecured Creditors' Committee of Auburn Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street

Indianapolis,

MATTER TITLE: Costs

IN 46203

Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0015

INVOICE #: 499362

PLEASE REMIT TOTAL INVOICE BALANCE DUE

ACCOUNTS ARE DUE UPON RECEIPT

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